         Case 3:19-cr-00052-RCJ-WGC Document 5 Filed 01/16/20 Page 1 of 3




 1   RENE L. VALLADARES
     Federal Public Defender
 2   Nevada State Bar No. 11479
     CHRISTOPHER P. FREY
 3   Assistant Federal Public Defender
     Nevada State Bar No. 10589
 4   201 W. Liberty Street, Ste. 102
     Reno, Nevada 89501
 5   (775) 321-8451/Phone
     Chris_Frey@fd.org
 6
     Attorneys for Myron Motley
 7
 8                                UNITED STATES DISTRICT COURT

 9                                     DISTRICT OF NEVADA
10
     UNITED STATES OF AMERICA,                              Case No. 3:19-CR-00052-RCJ-WGC
11
                     Plaintiff,                             MOTION TO WAIVE
12                                                          PRESENTENCE INVESTIGATION
            v.
13                                                          REPORT AND FOR IMMEDIATE
     ROBERT BARKMAN,                                        SENTENCING
14
                     Defendant.
15
16
            Comes now the Defendant, ROBERT BARKMAN, by and through his counsel of
17
     record, Christopher Frey, Assistant Federal Public Defender, and hereby moves to waive a
18
     presentence investigation and report under Federal Rule of Criminal Procedure 32(c)(1)(A)(ii)
19
     and for immediate sentencing at the upcoming hearing for Waiver of Indictment, Initial
20
     Appearance and Arraignment and Plea scheduled for Tuesday, January 21, 2020, at 10:15 a.m.1
21
            Under Rule 32(c)(1)(A)(ii), United States Probation need not conduct a presentence
22
     investigation and submit a report if “the court finds that the information in the record enables
23
     it to meaningfully exercise its sentencing authority under 18 U.S.C. § 3553, and the court
24
     explains its finding on the record.” Mr. Barkman reported to Pretrial Services on Wednesday,
25
26
            1
                ECF No. 5. This motion is timely filed.
         Case 3:19-cr-00052-RCJ-WGC Document 5 Filed 01/16/20 Page 2 of 3




 1   January 15, 2020, and was interviewed by Pretrial Services Officer Jennifer Simone. That
 2   report should be available to the Court shortly and is expected to contain sufficient information
 3   to enable the Court to meaningfully exercise its sentencing authority under 18 U.S.C. § 3553.
 4          Mr. Barkman has no criminal history of note. Accordingly, Mr. Barkman is expected
 5   to be in Criminal History Category I. Moreover, the parties jointly agree that Mr. Barkman’s
 6   total adjusted offense level after acceptance of responsibility is 8, resulting in the lowest
 7   possible guideline range of 0-6 months.2 The plea agreement accurately sets forth offense
 8   conduct, and it is anticipated that the case agent from the investigating agency will be present
 9   at sentencing should the Court require any information beyond the plea agreement or have any
10   inquiries about relevant conduct to aid it in its sentencing determination.
11          For the foregoing reasons, Mr. Barkman respectfully seeks to waive a presentence
12   investigation and report under Federal Rule of Criminal Procedure 32(c)(1)(A)(ii) and requests
13   to proceed to immediate sentencing at the upcoming hearing for Waiver of Indictment, Initial
14   Appearance and Arraignment and Plea scheduled for Tuesday, January 21, 2020, at 10:15 a.m.
15   The government is familiar with Mr. Barkman’s request and has no objection to waiving a
16   presentence investigation and report under Federal Rule of Criminal Procedure 32(c)(1)(A)(ii)
17   and proceeding to immediate sentencing at next Tuesday’s hearing.
18          DATED this 16th day of January, 2020.
19                                                    RENE L. VALLADARES
                                                      Federal Public Defender
20
21                                             By:    /s/ Christopher P. Frey
                                                      CHRISTOPHER P. FREY
22                                                    Assistant Federal Public Defender
                                                      Attorney for Robert Barkman
23
24
25
            2
             The plea agreement setting forth the parties guideline calculations was sent to
26   chambers by email on December 3, 2020.
                                                2
         Case 3:19-cr-00052-RCJ-WGC Document 5 Filed 01/16/20 Page 3 of 3




 1                           CERTIFICATE OF ELECTRONIC SERVICE

 2             The undersigned hereby certifies that she is an employee of the Federal Public Defender
 3   for the District of Nevada and is a person of such age and discretion as to be competent to serve
 4   papers.
 5             That on January 16, 2020, she served an electronic copy of the above and foregoing
 6   MOTION TO WAIVE PRESENTENCE INVESTIGATION REPORT AND FOR
 7   IMMEDIATE SENTENCING by electronic service (ECF) to the person named below:
 8
                             NICOLAS TRUTANICH
 9                           United States Attorney
                             PETER WALKINGSHAW
10                           Assistant United States Attorney
                             400 South Virginia Street, Ste 900
11                           Reno, Nevada 89501

12                           Gary N Donner
                             U.S. Department of Justice
13                           601 D. Street, N.W.
                             Rm. 2144
14                           Washington, DC 20004

15
                                                        /s/ Katrina Burden
16                                                      Employee of the Federal Public Defender

17
18
19
20
21
22
23
24
25
26
                                                       3
